              Case 4:06-cr-40033-JPG                    Document 102 Filed 03/13/07                 Page 1 of 6         Page ID
- A 0 2458    (Rev. 06/05) Judgment in a Cnminal Case             #278
              Sheet 1




                         Southern                               District of                                  Illinois

         UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                             v.
                   Daniel J. Lernrnons
                                                                       Case Number:           06-CR-40033-003-JPG
                                                                       USM Number: 07249-025
                                                                         Gary Milone
                                                                       Defendant's Attorney
THE DEFENDANT:
dpleaded guilty to count(s)          1.lo, 11 and 12 of the Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                     Offense Ended              Count
 21 U.S.C. 846                     Conspiracy to Manufacture Over 50 Grams of a Mixture and              5/12/2006                   1
                                   Substance Containing Methamphetamine
 21 U.S.C. 841(a)(l)               DiitriJJution of a Mixture and Substance Containing Meth               1/28/2006                  10.11, 12

       The defendant is sentenced as provided in pages 2 through           10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                is   [7 are dismissed on the motion of the United States.

         It is ordered that the defend3111must notlfy [he Un/ted States attomey for this &sect w~thin30 da s of any chan e of name, residence,
or mailing address untl!all fines, rcstltut~on,,costs,and speclal assessments ~tnposedby th~s~udgmcnt
                                                                                                    are fufiy p i d . lfor&red to pay restautton,
the defendant must not~fythe court and Un~tedStates attorney of rnater~alchanges in rsonom~ccircumstances.




                                                                         J. Phil Gilbert                            District Judge
                                                                       Name of Judge                              Title of Judge
               Case 4:06-cr-40033-JPG                Document 102 Filed 03/13/07                     Page 2 of 6       Page ID
A 0 245B     (Rev. 06/05) Judgmnt in Criminal Case             #279
             Sheet 2 - Imprisonmt


DEFENDANT: Daniel J. Lemmons
                                                                                                      Judgment-Page
                                                                                                                       -
                                                                                                                       2    of   10

CASE NUMBER: 06-CR-40033-003-JPG


                                                             IMPFUSONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

          120 months (120 months on Count 1 and 108 months on Counts 10, 11 and 12 of the Indictment). All counts to
 run concurrent with each other.


         The court makes the following recommendations to the Bureau of Prisons:

 that the defendant be placed in the Intensive Drug Treatment Program



         The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
               at                                     a.m.         p.m.     on
               as notified by the United States Marshal.

     @ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
         @ as notified by the United States Marshal.
               as notified by the Probation or Prehial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                          to

at                                                   , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                          BY
                                                                                                 DEPUTY UNITED STATES MARSHAL
                 Case 4:06-cr-40033-JPG                  Document 102 Filed 03/13/07                    Page 3 of 6        Page ID
A 0 245B      (Rev. 06105) Judgment in a Criminal Case             #280
              Sheet 3 -Supervised   Release


DEFENDANT: Daniel J. Lemmons
                                                                                                           Judgment-Page
                                                                                                                           -
                                                                                                                           3        of          10

CASE NUMBER: 06-CR-10033-003-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 5 years (5 years on Count 1 and 3 years on Counts 10, 11 and 12 of the Indictment) all counts to run concurrent with each
 other


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 B( The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 B( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofl~aymentssheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or admjnister any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so%y the protation officer;
  10)      the defendant shall pe,rmit a probation officer lo !isit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in pla~nview of the probat~onoffice5
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or           hlstoy or charactenst~~s   and shall permlt the probatton officer to make such nonficat~onsand to contlrm the
           defendant s compl~ancew ~ t hsuch not~ficattonrequirement.
A 0 2458
            Case
           (Rev.     4:06-cr-40033-JPG
                 06/05) Judgmnt in a Criminal Case   Document 102 Filed 03/13/07         Page 4 of 6        Page ID
           Sheet 3C - Supervised Release                       #281
                                                                                            Judgment-Page    4     of      10
DEFENDANT: Daniel J. Lemmons
CASE NUMBER: 06-CR-40033-003-JPG

                                        SPECIAL CONDITIONS OF SUPERVISION
   X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

  X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the special assessment in installments of $10
 per month or ten percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

   X The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 officer.

   X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediatley notify the probation officer of the receipt of any indicated monies.

    X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction,
 drug dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may
 require residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence
 from all alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor
 testing based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed
 the total costs of counseling.

     X Defendant shall submit within 15 days, not to exceed 52 tests in a one-year period for drug urinalysis.
A 0 2458      Case
           (Rev. 06/05).4:06-cr-40033-JPG
                         -
                        Jud-nt in acrirninal Case   Document 102 Filed 03/13/07                         Page 5 of 6      Page ID
           Sheet 5 -Criminal Monetary Penalties               #282
                                                                                                                    5 of
 DEFENDANT: Daniel J. Lemmons
                                                                                                    Judgmt-Page
                                                                                                                    -                  10

 CASE NUMBER: 06-CR-40033-003-JPG
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                       -
                                                                     Fine                                  Restitution
 TOTALS           $ 400.00                                         $ 0.00                                $ 0.00


     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise @
     the priority order or percentage payment columnxelow. However, pursuant to 18 J S . 8 . 5 36646), all nonfederal vlctlms must be pard
     before the Umted States 1s paid.

 Yame of Payee                                                         Total*               Restitution Ordered       Prioritv or Percentas




 TOTALS                                                    0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           the interest requirement is waived for the        fme            restitution.
       17 the interest requirement for the          fine          restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 1IOA, and 113A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
A 0 245B     Case
           (Rev. 06105)4:06-cr-40033-JPG
                        lud-nt   in a Criminal Case     Document 102 Filed 03/13/07                 Page 6 of 6           Page ID
           Sheet 6 - 5ched;le of Payments                         #283
                                                                                                                          6
DEFENDANT: Daniel J . Lemmons
                                                                                                       Judgment-   Page
                                                                                                                          - of               10

CASE NUMBER: 06-CR-40033-003-JPG

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A          Lump sum payment o f $                             due immediately, balance due

           IJ    not later than                                  ,Or
                 in accordance               C,       [7 D,        E, or        F below; or
B     @ Payment to begin immediately (may be combined with                 C,          D, or    @F below); or
C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     IJ Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     &$Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or 10 percent
           of his net monthly income, whichever is greater, toward his special assessment.



Unless the court has express1 ordered otherwise, if thisjud ment imposes imprisonment a ent of criminal monetary penalties is due durin
imprisonment. All crlminaYmoneta penalties, except i o s e payments made throug g ~ e d e r a Bureau
                                                                                                  l      of Prisons' Inmate FinanciJ
Responsibility Program, are made to x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monemy penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
( 5 ) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
